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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

-----------------------------------------------------------------X
                                                                 :
  STRIKE 3 HOLDINGS, LLC,                                        :
                                                                 :   Case No. 1:20-cv-01435-PAE
                                      Plaintiff,                 :        FINAL DEFAULT
                                                                 :      JUDGMENT ORDER
                             vs.                                 :
                                                                 :
  JOHN DOE, infringer identified as using IP                     :
  address 158.222.209.203,                                       :
                                                                 :
                                      Defendant.                 :
-----------------------------------------------------------------X

                              DEFAULT JUDGMENT AGAINST DEFENDANT

          THIS CAUSE is before the Court on Plaintiff’s Motion for Default Judgment Against

 Defendant Willerm Delisfort (“Motion”). Having considered the Motion, being otherwise duly

 advised in the premises, and good cause appearing, the Court hereby

          FINDS:

          1.       The address of Plaintiff is:

                            Strike 3 Holdings, LLC
                            c/o Jacqueline M. James, Esq. (1845)
                            The James Law Firm, PLLC
                            445 Hamilton Avenue
                            Suite 1102
                            White Plains, New York 10601

                   The name and address of Defendant is:

                            Willerm Delisfort
                            636 W. 136th Street, Apt. 11
                            New York, NY 10031


          2.       This Court has jurisdiction over the subject matter of this case and the parties.

          3.       Venue is proper in this District.

          4.       The Complaint states claims for direct copyright infringement, in
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violation of 17 U.S.C. § 101 upon which relief may be granted against Defendant.

        5.       Defendant has failed to plead or otherwise defend against Plaintiff’s Complaint in

this action.

        6.       Default was entered as to Defendant on July 28, 2020.

        7.       Defendant is not a minor, incompetent person or in active military service.

        8.       By reason of default, Defendant has admitted the truth of the allegations in

Plaintiff’s Complaint.

        9.       Under Count I of the Complaint, Defendant is hereby found liable to Plaintiff for

willfully committing direct copyright infringement of 98 of Plaintiff’s movies.

        10.      Plaintiff has submitted a Declaration demonstrating that Plaintiff expended a total

of $400.00 in costs, which amount this Court finds reasonable.

        Based on the foregoing findings, it is:

        ORDERED AND ADJUDGED that Defendant Willerm Delisfort:

        (a) shall pay to Plaintiff the sum of $73,500.00 in statutory damages, as authorized under

17 U.S.C. § 504(c)(1), and $400.00 for costs, as authorized under 17 U.S.C. § 505, making a

total of $73,900.00, for which let execution issue forthwith;

        (b) shall pay to Plaintiff post-judgment interest at the current legal rate allowed and

accruing under 28 U.S.C. § 1961 as of the date of this Default Judgment until the date of its

satisfaction;

        (c) The Court shall retain jurisdiction over this action for six months or until the

judgment is satisfied to entertain such further proceedings supplementary and to enter such

further orders as may be necessary or appropriate to implement and enforce the provisions of this

Default Judgment.
                              12 day of ________________,
        DONE AND ORDERED this ___       January           2021.


                                                  PaJA.�
                                       By: ___________________________________
                                              UNITED STATES DISTRICT JUDGE
